Case 2:04-cr-20513-.]PI\/| Document 39 Filed 04/25/05 Page 1 of 3 Page|D 30

IN'THE UNITED sTATEs DISTRICT coURT ixh j?}
FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION

 

 

UNITED STATES OF AMERICA

Plaintiff,
v. Criminal NO“B©% zgcj§[§ Ml
1/')@~@<< /),…1 - oss-s csc-nay Continuance)

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May 2005,
criminal rotation calendar, but is now RESET for report at gigg
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005, rotation calendar With the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

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'Th\s 609 " Or 32@ FRCrP on

\r.)\'c‘n P.u\e 55 and!

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Case 2:04-cr-20513-.]PI\/| Document 39 Filed 04/25/05 Page 2 of 3 Page|D 31

30 ORDERED this 22“d day of April, 2005.

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J N P IPPS MCCALLA
I'I` D STATES DISTRICT JUDGE

Assistant United States Attorney

 

 

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Counsel for Defendant(s)

UNITED sTATE DISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

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Honorable J on McCalla
US DISTRICT COURT

